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                               No. 22-50834



          United States Court of Appeals
               for the Fifth Circuit

U NITED S TATES    OF   A MERICA ,

                                                             Plaintiff–Appellant,

                                       v.

J OSE G OMEZ Q UIROZ ,

                                                            Defendant–Appellee.


              Appeal from the United States District Court
                   for the Western District of Texas
                         No. 4:22-CR-104-DC


   A PPELLANT U NITED S TATES OF A MERICA ’ S U NOPPOS ED
 M OTION TO E XTEND T IME TO F ILE S UPPLEMEN TAL B RIEFING
     Under Federal Rules of Appellate Procedure 26(b) and 27, and Fifth
Circuit Rule 26.2, the United States Attorney for the Western District of
Texas moves for a 30-day extension of the time within which this Court
requested that the Solicitor General file supplemental briefing in this case.
In support of this motion, the government shows:
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     This case involves a Second Amendment challenge to 18 U.S.C.
§ 922(n), which makes it “unlawful for any person who is under indict-

ment for a crime punishable by imprisonment for a term exceeding one
year to … receive any firearm or ammunition which has been shipped or
transported in interstate or foreign commerce.” In March 2022, Quiroz
was charged with (1) making a false statement while buying a firearm, see
18 U.S.C. § 922(a)(6); and (2) receiving a firearm while under indictment,
see id. § 922(n). (ROA.13–14.) A jury found him guilty of both counts.

(ROA.192.) But, after the Supreme Court decided New York State Rifle &
Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111 (2022), the district court
granted Quiroz’s motion to dismiss the indictment on the ground that
§ 922(n) facially violates the Second Amendment. (ROA.309.)
     The parties completed initial briefing of this case on January 27,
2023. This Court heard oral argument on February 8, 2023.
     On February 16, 2023, “[g]iven the significance of the issues, the
panel request[ed] supplemental briefing from the Solicitor General.” ECF
No. 69 at 1. The panel “request[ed] that if supplemental briefing is sub-

mitted by the Solicitor General, it be filed on or before March 10, 2023.”
Id. at 3.
     The government respectfully requests an additional 30 days, to and

including April 10, 2023, to file the supplemental briefing requested by
this Court. Good cause exists for the requested extension. See 5th Cir. R.
26.2. The Court’s order included a list of five questions, most of which

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call for historical analysis. The Court also emphasized that the list of ques-
tions is nonexhaustive and invited briefing on other aspects of the Bruen

analysis. Additional time is needed to allow the government to engage in
the research, internal consultations, and drafting necessary to respond to
the Court’s order.
     The United States Attorney makes this request after conferring with
the Office of the Solicitor General and with the Solicitor General’s author-
ization. This request is not made for the purpose of delay.

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     For these reasons, the government respectfully requests an additional
30 days, to and including April 10, 2023, to file the supplemental briefing
requested by this Court.

                                       Respectfully submitted,
                                       JAIME E SPARZA
                                       United States Attorney

                                       /s/ Charles E. Fowler, Jr.
                                       C HARLES E. F OWLER , J R .
                                       Assistant United States Attorney




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                      C ERTIFICATE   OF    C ONFERENCE

     I certify that on March 3, 2023, I contacted Quiroz’s counsel, Timo-
thy Shepherd, who stated that Quiroz does not oppose this motion.

                                       /s/ Charles E. Fowler, Jr.
                                       C HARLES E. F OWLER , J R .
                                       Assistant United States Attorney

                        C ERTIFICATE       OF   S ERVICE

     I certify that on March 3, 2023, I filed this motion through this
Court’s electronic case-filing system, which will serve it on all registered
counsel.

                                       /s/ Charles E. Fowler, Jr.
                                       C HARLES E. F OWLER , J R .
                                       Assistant United States Attorney
                      C ERTIFICATE   OF    C OMPLIANCE

     I certify that
     1. this motion complies with the type-volume limit of Federal Rule
of Appellate Procedure 27(d)(2)(A) because it contains 420 words, exclud-
ing parts exempted by Rule 32(f); and
     2. this motion complies with the typeface and type-style requirements

of Federal Rules of Appellate Procedure 27(d)(1)(E), 32(a)(5), and
32(a)(6) because it was prepared in a proportionally spaced typeface using
Microsoft Office Word 365 in size 14 Calisto MT font.
     Dated: March 3, 2023

                                       /s/ Charles E. Fowler, Jr.
                                       C HARLES E. F OWLER , J R .
                                       Assistant United States Attorney

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